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                                    -1-
            IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE DISTRICT OF SOUTH CAROLINA
                       CHARLESTON DIVISION


UNITED STATES OF AMERICA                  Criminal No:   2:21-cr-788

                v.
                                                  PLEA AGREEMENT
CHARLES WILLY$ MINCEY, JR.
     a/k/a "Charles Willis
Mincey"
     a/k/a "Chuck Mincey"

                         General Provisions


     This PLEA AGREEMENT is made this          12th            _____
                                                      day of November ,

2021, between the United States of America,           as represented by Acting

United States Attorney M. RHETT DEHART, Assistant United States

Attorney   Allessandra   Stewart;     the   Defendant,   CHARLES    WILLY$

MINCEY, JR., a/k/a "Charles Willis Mincey", a/k/a "Chuck Mincey",

and Defendant's attorney, Bart Daniel.

     IN CONSIDERATION of the mutual promises made herein,                  the

parties agree as follows:

  1. The Defendant agrees to waive Indictment and arraignment, and

     plead guilty to an       Information charging,       Conspiracy,       in

     violation of Title 18, U.S.C., § 371.

     In order to sustain its burden of proof, the Government is

required to prove the following:
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